                                    EXHIBIT A




Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 1 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 2 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 3 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 4 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 5 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 6 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 7 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 8 of 9
Case 17-10337-j7   Doc 27-1   Filed 06/14/19   Entered 06/14/19 11:15:17 Page 9 of 9
